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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No. 2:20-CV-09093-AB (AFMx)
12    MICHAEL AISLEY,
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL ACTION
14
      v.
15
      ICON TECHNOLOGY
16    CONSULTING, INC., et al.,
17                    Defendants.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within 30 days, to re-
23   open the action if settlement is not consummated. This Court retains full jurisdiction
24   over this action and this Order shall not prejudice any party to this action.
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26
     Dated: November 9, 2020          _______________________________________
27                                    ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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